Case 2:19-cv-01130-RSL Document 96-26 Filed 03/04/21 Page 1 of 10




                EXHIBIT 26
Case 2:19-cv-01130-RSL Document 96-26 Filed 03/04/21 Page 2 of 10
Case 2:19-cv-01130-RSL Document 96-26 Filed 03/04/21 Page 3 of 10
Case 2:19-cv-01130-RSL Document 96-26 Filed 03/04/21 Page 4 of 10
Case 2:19-cv-01130-RSL Document 96-26 Filed 03/04/21 Page 5 of 10
Case 2:19-cv-01130-RSL Document 96-26 Filed 03/04/21 Page 6 of 10
Case 2:19-cv-01130-RSL Document 96-26 Filed 03/04/21 Page 7 of 10
Case 2:19-cv-01130-RSL Document 96-26 Filed 03/04/21 Page 8 of 10
Case 2:19-cv-01130-RSL Document 96-26 Filed 03/04/21 Page 9 of 10
Case 2:19-cv-01130-RSL Document 96-26 Filed 03/04/21 Page 10 of 10
